
897 So.2d 546 (2005)
Antonio JOHNSON, Appellant,
v.
James V. CROSBY, Jr., Sec Fl. Dept. of Corr. etc., Appellee.
No. 3D05-387.
District Court of Appeal of Florida, Third District.
March 23, 2005.
Rehearing Denied April 15, 2005.
*547 Antonio Johnson, in proper person.
Charles J. Crist, Jr., Attorney General, for appellee.
Before SHEPHERD and SUAREZ, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
A life sentence is not impermissible "indefinite imprisonment" for purposes of Article I, Section 17 of the Florida Constitution. See Alvarez v. State, 358 So.2d 10, 12 (Fla.1978) ("We also reject petitioner's contention that the statute is unconstitutionally vague and indefinite. Although no person can predict the maximum length of time which can be served by a prisoner under a sentence of life, this in itself does not render a life sentence impermissibly indefinite.") (footnote omitted); Lopez v. State, 881 So.2d 36 (Fla. 3d DCA 2004); Enriquez v. State, 885 So.2d 892 (Fla. 3d DCA 2004).
